                           UNITED STATES DISTRICT COURT
                            DISTRICT OF MASSACHUSETTS


ACK RESIDENTS AGAINST TURBINES AND
VALLORIE OLIVER,

                              Plaintiffs,

       v.
                                                        Civil Action No. 1:21-cv-11390-IT
U.S. BUREAU OF OCEAN ENERGY
MANAGEMENT; NATIONAL OCEANIC AND
ATMOSPHERIC ADMINISTRATION;
NATIONAL MARINE FISHERIES SERVICE;                         Hon. Indira Talwani
DEBRA HAALAND, Secretary of the Interior;
GINA M. RAIMONDO, Secretary of Commerce,

                              Defendants.



                 FEDERAL DEFENDANTS’ NOTICE OF MOTION AND
                      MOTION FOR SUMMARY JUDGMENT

       PLEASE TAKE NOTICE that, pursuant to Rule 56 of the Federal Rules of Civil

Procedure and Local Rule 7.1, Federal Defendants (U.S. Bureau of Ocean Energy Management;

National Oceanic and Atmospheric Administration; National Marine Fisheries Service; Debra

Haaland, in her official capacity; and Gina Raimondo, in her official capacity) respectfully move

for summary judgment against Plaintiffs (Nantucket (ACK) Residents Against Turbines and

Vallorie Oliver) as to all claims asserted in Plaintiffs’ Amended Complaint, Doc. No. 59.

       Federal Defendants’ motion for summary judgment is based on: (i) this Notice and

Motion; (ii) Federal Defendants’ Memorandum of Points and Authorities, filed concurrently

herewith; (iii) Federal Defendants’ Consolidated Responses to Plaintiffs’ Statement of Facts and

Additional Facts in Support of Federal Defendants’ Motion for Summary Judgment, filed

concurrently herewith; (iv) Federal Defendants’ administrative records previously filed; (v) the
joint appendix to be filed by the parties pursuant to this Court’s Order, Doc. No. 94; and (vi) the

arguments of counsel at the time of the Court’s hearing.

 Date: September 8, 2022                           Respectfully submitted,

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                                                   Counsel for the United States
CERTIFICATE OF SERVICE


       Pursuant to Local Rule 5.2, I hereby certify that a true copy of the foregoing FEDERAL
DEFENDANTS’ NOTICE OF MOTION AND MOTION FOR SUMMARY JUDGMENT was
served upon the attorney of record for each other party by the CM/ECF electronic filing system
on September 8, 2022.

                                            /s/ Mark Arthur Brown
                                            Mark Arthur Brown
